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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

     IN RE:                                                      §
                                                                 §
                                                                         CASE NO. 22-50591-CAG
     CHRIS PETTIT & ASSOCIATES, P.C.                             §
                                                                 §
                                                                         CASE NO. 22-50592-CAG
     CHRISTOPHER JOHN PETTIT                                     §
                                                                 §
                                                                         CHAPTER 11 PROCEEDINGS
     Jointly Administered Debtors. 1                             §
                                                                         (Jointly Administered Under
                                                                 §
                                                                         Case No. 22-50591-CAG)
                                                                 §
                                                                 §

                                        MOTION FOR SECTION 506(c) CLAIM

 TO THE HONORABLE U.S. BANKRUPTCY JUDGE CRAIG A. GARGOTTA:

          COMES NOW Eric Terry,                                  Mr. Terry              Trustee

         Estates                                     Pettit                                                  CPA

                                   Debtors                                                           Cases     files

 this Motion for Section 506(c) Claim (this Surcharge Motion , pursuant to section 506 of title

                                                          Bankruptcy Code . In support of this Surcharge

 Motion, the Trustee respectfully represents to the Court as follows:

                                             I. INTRODUCTION

          1.       Since August 2022, the Trustee and his professionals have been actively marketing

 the property at 555 Argyle Avenue (the "Property") for sale. This process has been costly to the

 Estates. For the entire marketing period, the Trustee and his professionals have devoted time and

 resources to paying for insurance on the property to insure against any damage arising from the




 1

 Federal Tax Identification Number, as applicable, are: Chris Pettit & Associates, P.C. (1267), and Christopher John
 Pettit (9429).
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 and visually inspected it, identified maintenance issues, arranged for repairs, cleaning, and



 paint, air conditioning systems, and other issues. The Estates bore the cost of utilities for the



 attorneys and the Trustee devoted significant time and incurred necessary and reasonable fees to

 ensure the maintenance and care of the Property complied with the Bankruptcy Code and, at all

 times, benefitted the Property and parties with interests in the Property.

        2.

 Cases. The Trustee and his professionals have secured a $2.3 million contract for the Property,

 subject to overbids at an auction. At the beginning of the sale process, the Trustee and parties in

 interest hoped for a higher sale price. However, after eighteen months on the market, thirty



 value of the Property and will generate the highest and best available price for the Property. As a

 result, the Trustee is entitled to surcharge the Property to pay his fees and expenses for maximizing

 the value of the Property       Surcharge Claim .

                          II. THE PROPERTY AND MAINTENANCE

        3.      On March 6, 2024, the Trustee filed his Motion for (I) an Order Authorizing and

 Approving (A) Bid Procedures, Including Approval of Stalking Horse Bidder, (B) Notice of

 Auction and Sale Hearing, and (C) Related Relief; And (II) an Order Authorizing and Approving

 (A) the Sale of Real Estate Free and Clear of All Liens, Claims, Encumbrances, and Other Interests

 Pursuant to Bankruptcy Code Sections 105, 363(B), (F), and (M), and 503, and (B) Granting

 Related Relief [ECF No. 1208]         Sale Motion , seeking authority to sell the Property. As more

 fully described in the Sale Motion,                         Stalking Horse Bidder

 to purchase the Property for $2,300,000.00, which the Trustee accepted.


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        4.                                              Wells Fargo

 Property. On July 6, 2022, Wells Fargo filed its proof of claim [Claim #15-1 in the Pettit case]

 alleging that it holds a note secured by the Property. At the time of filing this Surcharge Motion,

                                                                      lien. See generally Verstuyft, et

 al. v. Wells Fargo Bank, N.A., et al., Adv. No. 22-5039 currently pending in this Court; see also

 Armstrong, et al. v. Wells Fargo Bank, N.A., et al., Cause No. 2023CI22344 currently pending in

 the 148th Judicial District Court of Bexar County, Texas.

        5.      On August 29, 2022, the Court entered its order approving the employment of

 Compass RE Texas, LLC, as sponsoring broker, Corie Property Group, as associate broker, and

                       Compass                       Compass marketed the Property on the Multiple

 Listing Service, email blasts, real estate publications, and direct outreach beginning on November

 29, 2022 at a listing price of $3,990,000.00. In consultation with the Trustee and his professionals,

 Compass lowered the listing price six times to a final listing price of $2,800,000.00. In total,

 Compass showed the Property to thirty prospective buyers and communicated with dozens of other

 prospective buyers. Further, Compass regularly visited the Property and reported on necessary

 repairs and maintenance to the Trustee.

        6.      The Property is 6,500 sq. ft. and is on a 0.72-acre lot, requiring significant

 maintenance over the past eighteen months. This includes payments for utilities, insurance,

 landscaping and yard work, elevator maintenance, and general wear-and-tear maintenance and

 repairs, all requiring significant attorney time.

 maintenance. The Stalking Horse Bidder is willing to pay $2,300,000.00 because the Property was

 properly and well maintained.




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        7.      For example,

 replacement of the compressor, the capacitor, and thermostat control     costing nearly $5,000.00.

 With outside temperatures reaching over 100 degrees Fahrenheit, this repair was necessary to

 properly maintain the Property. Potential purchasers visiting the Property would have been

                                                                                 . Not only would

 prospective buyers have a poor impression of the Property, but also those extreme temperatures

 would have impaired the Property itself, potentially causing damage, pest issues, and other value-

 destructive consequences. Recently, in January 2024, Texas experienced extreme winter

 conditions and below-freezing temperatures. Accordingly, the Property needed freeze protection

 to prevent frozen pipes from bursting. This repair was necessary to properly maintain the Property

 and prevent damage. Had the Trustee not paid for this maintenance, the Property would have fallen

 into a state of disrepair, impairing value to potential purchasers.

        8.      The Surcharge Claim also includes monthly utility expenses for electricity, gas, and

 water. If the Trustee did not pay these monthly utility expenses, prospective buyers would have

 visited the Property without lighting, air conditioning, heating, or running water. This would have

 severely impacted the prospective buyers impression of the Property and, as a result, the final

 purchase price for the Property. Letting plumbing go dry frequently results in leaks when

 reactivated, and electricity was necessary to run climate control, elevator service, and other

 important features of the Property. Not paying for these services would have caused damage to the

 Property and impaired the ultimate sale price. Additionally, the Surcharge Claim includes monthly

 insurance payments as required by statute. See 11 U.S.C. § 1112 (b)(4)(C).




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            9.       Before its withdrawal [ECF No. 911]                                           Dykema incurred

 over $2,500.00 in fees specifically attributable to the Property 2.

 Application [ECF No.

 discount in the Surcharge Claim.

     Wick Phillips        incurred over $15,000.00 specifically attributable to the Property 3. Further,

 Compass made certain utility payments and repair costs on the Property and was subsequently

 reimbursed by the Trustee. Compass did not charge any interest or fees for its payments on behalf

 of the Trustee. Likewise, Compass did not charge the Trustee for its time spent visiting and

 showing the Property.

            10.      In total, to preserve and dispose of the Property, the Trustee and his professionals

 incurred reasonable and necessary fees and expenses as set forth in the table below:

                  Total if Property is Sold                             Total if Property is Not Sold
                                                 $2,283.30                                         $2,283.30
                                                $15,270.00                                        $15,270.00
     Estates Expenses                           $44,213.02      Estates Expenses                  $44,213.02
                                                $69,000.00                                        $18,517.50
     Commission
     U.S. Trustee Fee                  $18,400.00
                                TOTAL $149,166.32                                          TOTAL           $80,283.82


 An itemized statement detailing each fee and expense included in the Surcharge Claim is attached

 hereto as Exhibit B. The Trustee and Wick Phillips will incur additional fees and expenses to seek

 approval of the Sale Motion, including approval of the bid procedures requested in the Sale




 2
  Dykema incurred an additional $19,768.00 in fees not specifically attributable to the Property but were incurred in
                                                                                                   Further, Dykema incurred
 over $1,500.00 in fees specifically attributable to the Property after it filed its First Interim Fee Application [ECF No.
 692]. This amount is also not included in the Surcharge Claim.
 3
     Wick Phillips incurred an additional $4,121.00 in fees not specifically attributable to the Property but were incurred




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 Motion, and this Surcharge Motion. The Trustee will continue to negotiate with Wells Fargo to

 resolve its objections to the Sale Motion and this Surcharge Motion.

                            III. ARGUMENT AND AUTHORITIES

        11.     Jurisdiction and Venue. This Court has jurisdiction over this Surcharge Motion

 pursuant to 28 U.S.C. §§ 157 and 1334. Venue for this proceeding is proper in this district pursuant

 to 28 U.S.C. §§ 1408 and 1409. The statutory predicate for the relief sought by this Surcharge

 Motion is section 506 of the Bankruptcy Code.

        12.     Trustee is entitled to seek recovery from property securing an allowed secured

 claim the reasonable, necessary costs and expenses of preserving, or disposing of, such property

 to the extent of any benefit to the holder of such claim, including the payment of all ad valorem

 taxes with respect to the property. See 11 U.S.C. § 506(c);

 Insurance Co. v. Union Planters Bank N.A. (In re Hen House Interstate Inc.), 530 U.S. 1, 120 S.Ct.

 1942, 147 L.Ed.2d 1 (2000).

        13.

 three elements must be shown: (1) the expenditure was necessary, (2) the amounts expended were

                                                                  Matter of Delta Towers, Ltd., 924

 F.2d 74, 76 (5th Cir. 1991).

        14.

 expense primarily for the benefit of the secured creditor and that the expenses resulted in a

                                                      Delta Towers, 924 F.2d at 77; In re Cascade

 Hydraulics & Utility Service, Inc., 815 F.2d 546, 548 (9th Cir. 1987); In re Beker Industries Corp.,

 89 B.R. 336, 342 (S.D.N.Y. 1988). The ultimate beneficiary of these efforts in maintaining the

 Property is Wells Fargo and, to the extent Wells Fargo is paid in full, subordinate secured creditors

 and ultimately, the Estates.


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        15.



                                                                                      found to have

                        Matter of Senior-G & A Operating Co., Inc., 957 F.2d 1290, 1300 (5th Cir.

 1992) (quoting 3 COLLIER ON BANKRUPTCY ¶ 506.06).

        16.     Wells Fargo has been aware, and actively participating in, these Cases from their

 inception. Further, Wells Fargo regularly contacted the Trustee requesting updates on the

 marketing and sales process of the Property. See Exhibit C. At any point, Wells Fargo could have

                                                                       paid to preserve the Property

 itself. However, Wells Fargo did not object and impliedly consented

 and maintenance of the Property.

 professionals time and labor without reimbursing the Estates for the same. See In re Von Koester,

 No. 11-



 to preserve the collateral and conduct a sale without shouldering any of the costs. This is what is



        17.     The Surcharge Claim was necessary and reasonable. All expenses incurred related

 to the Property, including landscaping and lawn care, elevator maintenance, general wear-and-tear

 repairs, monthly utility and insurance payments,                                were necessary to

 maintain the Property for potential buyers. Further, the fees and expenses were heavily discounted,

 paid without interest, and were reasonable under the circumstances.

        18.                                                                                 § 326(a)

                                                    only if the Property is successfully sold. While




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 § 506(c) does not expressly refer to

                                                                                     In the Matter to

 Stable Assocs., 49 B.R. 395, 406 (Bankr. S.D.N.Y. 1985); see also In re Allen, 203 B.R. 925, 929




        19.     Wells Fargo is statutorily obligated to pay the Surcharge Claim to the Estates but

 opposes this Surcharge Motion                                                               compel

 Wells Fargo to pay the Surcharge Claim to the Estates.

        WHEREFORE, the Trustee respectfully requests that the Court enter an order, substantially

 in the form attached hereto as Exhibit A, granting the relief requested herein and such other relief

 as the Court deems appropriate under the circumstances.



 Dated: March 13, 2024
                                               Jason M. Rudd, Tex. Bar No. 24028786
                                               Scott D. Lawrence, Tex. Bar No. 24087896
                                               Catherine A. Curtis, Tex. Bar No. 24095708
                                               Mallory A. Davis, Tex. Bar No. 24133121
                                               WICK PHILLIPS GOULD & MARTIN, LLP
                                               3131 McKinney Avenue, Suite 500
                                               Dallas, TX 75204
                                               Phone: (214) 692-6200
                                               Fax: (214) 692-6255
                                               Email: jason.rudd@wickphillips.com
                                                       scott.lawrence@wickphillips.com
                                                       catherine.curtis@wickphillips.com
                                                       mallory.davis@wickphillips.com

                                               COUNSEL FOR ERIC TERRY,
                                               CHAPTER 11 TRUSTEE




 TRUSTEE S MOTION FOR SECTION 506(C) CLAIM                                           PAGE 8 OF 11
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                              CERTIFICATE OF CONFERENCE

        The undersigned hereby certifies that he and Mitchell Buchman, counsel for Wells Fargo
 National Bank West, an alleged secured claimant, conferred concerning the Motion. Wells Fargo
 National Bank West is opposed to relief sought in the Motion and has not agreed to pay the
 Surcharge Claim.


                                             Scott D. Lawrence




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                                   CERTIFICATE OF SERVICE

         I certify that by March 13, 2024, a copy of the Motion will have been served electronically

  on the attached ECF Service List,
  pdf email to the email addresses listed below and by first class mail on certain other parties on the
  addresses listed below.

   Frank and Emma Persyn Family Limited              Christopher Pettit
   Partnership Contact: Loretta Persyn               Karnes City Detention Facility
   10018 Tezel Rd.                                   810 Commerce Street
   San Antonio, TX 78254                             Karnes City, TX 78118
   Email: lorettapersyn@yahoo.com                    Inmate ID: WD20498510

   Bruce Bengel                                      Bexar County Tax Assessor
   5502 Pioneer Creek                                Attn: Albert Uresti
   San Antonio, TX 78245                             P.O. Box 839950
   Email: bbengel@swbell.net                         San Antonio, TX 78283

   Richard Mylnar                                    Wells Fargo National Bank West
   796 S. Highway 16                                 Attn: John R. Callison
   Jourdanton, TX 78026                              Barrett Daffin Frappier Turner & Engel, LLP
   Email: rmylnar@yahoo.com                          4004 Belt Line Road, Suite 100
                                                     Addison, TX 75001
   Dr. Salvador Ortiz
   c/o Jay H. Ong                                    Salvador Ortiz Irrevocable Trust
   Munsch Hardt Kopf & Harr, P.C.                    c/o Jay H. Ong
   1717 West 6th Street, Suite 250                   Munsch Hardt Kopf & Harr, P.C.
   Austin, TX 78703                                  1717 West 6th Street, Suite 250
   jong@munsch.com                                   Austin, TX 78703
                                                     jong@munsch.com
   Sin Reposo, LLC
   c/o Christopher Adams                             Bossy R, LP
   Okin Adams LLP                                    c/o David McQuade Liebowitz
   1113 Vine Street, Suite 240                       Law Offices of David Leibowitz
   Houston, TX 77002                                 517 Soledad Street
                                                     San Antonio, TX 78205
   Sharon Rakowitz                                   service@leibowitzlaw.com
   c/o David McQuade Liebowitz
   Law Offices of David Leibowitz                    Karen Varns
   517 Soledad Street                                c/o David McQuade Liebowitz
   San Antonio, TX 78205                             Law Offices of David Leibowitz
   service@leibowitzlaw.com                          517 Soledad Street
                                                     San Antonio, TX 78205
                                                     service@leibowitzlaw.com




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   Agnes Mae Hartman                          Peter Rakowitz
   c/o David McQuade Liebowitz                c/o David McQuade Liebowitz
   Law Offices of David Leibowitz             Law Offices of David Leibowitz
   517 Soledad Street                         517 Soledad Street
   San Antonio, TX 78205                      San Antonio, TX 78205
   service@leibowitzlaw.com                   service@leibowitzlaw.com

   James Craig Horan                          Gennifer Horan
   c/o David McQuade Liebowitz                c/o David McQuade Liebowitz
   Law Offices of David Leibowitz             Law Offices of David Leibowitz
   517 Soledad Street                         517 Soledad Street
   San Antonio, TX 78205                      San Antonio, TX 78205
   service@leibowitzlaw.com                   service@leibowitzlaw.com




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                                   EXHIBIT A
                                  Proposed Order
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                             IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                       SAN ANTONIO DIVISION

      IN RE:                                                         §
                                                                     §
                                                                              CASE NO. 22-50591-CAG
      CHRIS PETTIT & ASSOCIATES, P.C.                                §
                                                                     §
                                                                              CASE NO. 22-50592-CAG
      CHRISTOPHER JOHN PETTIT                                        §
                                                                     §
                                                                              CHAPTER 11 PROCEEDINGS
      Jointly Administered Debtors. 4                                §
                                                                              (Jointly Administered Under
                                                                     §
                                                                              Case No. 22-50591-CAG)
                                                                     §
                                                                     §

            ORDER GRANTING                                MOTION FOR SECTION 506(c) CLAIM

             Came on for consideration the                                                                          (the
                5
      Motion        . The Court, after considering the pleadings, the representations of the parties and their




  4

  Federal Tax Identification Number, as applicable, are: Chris Pettit & Associates, P.C. (1267), and Christopher John
  Pettit (9429).
  5
      All capitalized terms but not otherwise defined herein shall have the same meanings ascribed in the Motion.



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  counsel, and the evidence presented at the hearing on the Motion, finds that: (a) it has jurisdiction

  over the matters raised in the Motion pursuant to 28 U.S.C. §§ 157 and 1334; (b) this is a core

  proceeding pursuant to 28 U.S.C. § 157(b)(2) and the Court has the constitutional authority to enter

  a final order on the Motion; (c) venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409; (d) proper

  and adequate notice of the Motion and hearing hereon has been given and no other or further notice

  is necessary; and (e) good and sufficient cause exists for granting the relief requested set forth

  herein.

            NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

            1.   The Motion is GRANTED to the extent set forth herein.

            2.   Within ten (10) days after the entry of this Order, Wells Fargo National Bank West

  is directed to pay to the Trustee and to the Estates $80,283.82, pursuant to 11 U.S.C. § 506(c).

            3.                                      Property, Wells Fargo National Bank West is

  directed to pay the Trustee an additional $68,882.50, pursuant to 11 U.S.C. § 506(c), which amount

  the Trustee may withhold from the proceeds of the sale of the Property.

            4.   The relief granted herein is without prejudice to the Trustee seeking additional

  amounts under 11 U.S.C. § 506(c) to compensate the Estates for reasonable and necessary

  attorneys fees, expenses, and costs incurred in maintaining and marketing for sale the Property.

                                     # # # END OF ORDER # # #




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  PREPARED AND SUBMITTED BY:

  Jason M. Rudd, Tex. Bar No. 24028786
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  Catherine A. Curtis, Tex. Bar No. 24095708
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  COUNSEL FOR ERIC TERRY,
  CHAPTER 11 TRUSTEE




  ORDER GRANTING TRUSTEE S MOTION FOR SECTION 506(C) CLAIM             PAGE 3 OF 3
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                         Exhibit B
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      Expenses Incurred Under 11 U.S.C. § 506(c) for 555 Argyle Ave. (the "Property")
        Document                                    Description of Expense                             Amount
A. Dykema Attorneys' Fees
    ECF No. 692, page 38       Emails re interest in Property                                      $       48.00
    ECF No. 692, page 64       Correspondence re rush title searches on Property                   $      105.00
    ECF No. 692, page 66       Prepare wire transfer for rent on Property                          $       70.00
    ECF No. 692, page 71       Retention of broker for Property                                    $       70.00
    ECF No. 692, page 71       Coordinate with broker for Property                                 $       70.00
    ECF No. 692, page 71       Review broker information on Property                               $       96.00
    ECF No. 692, page 71       Review draft listing paperwork for Property                         $       70.00
    ECF No. 692, page 81       Review email re listing agreement for Property                      $       96.00
    ECF No. 692, page 81       Email re broker agreement for Property                              $       96.00
    ECF No. 692, page 94       Draft and send letter to tenant re lease payments on Property       $      175.00
    ECF No. 692, page 96       Call Wells Fargo re rent payments on Property                       $       43.00
                               Correspondence with Wells Fargo re notice of security interest in
    ECF No. 692, page 96
                               Property                                                            $       35.00
    ECF No. 692, page 96       Review Wells Fargo notice of security interest in Property          $       35.00
    ECF No. 692, page 99       Email with broker re Property                                       $       48.00
    ECF No. 692, page 99       Review RFM letter and title search on Property                      $      144.00
    ECF No. 692, page 112      Call with Wells Fargo re Property                                   $       43.00
                               Call with insurance agency re insurance on Property; prepare
    ECF No. 692, page 113
                               letter agreement for use of cash collateral re same                 $      344.00
    ECF No. 692, page 126      Email re rent for Property                                          $       86.00
    ECF No. 692, page 126      Email re tour of Property                                           $       86.00
    ECF No. 692, page 137      Call w Fred Hutt, proposed broker for Property                      $      129.00
    ECF No. 692, page 147      Call re insurance payment on Property                               $      129.00
    ECF No. 692, page 176      Review emails from broker on Property                               $       70.00
    ECF No. 692, page 195      Emails on motion to terminate lease on Property                     $      144.00
                               Telephone conference with Chambers re Property lease
    ECF No. 692, page 195
                               termination                                                         $       35.00
    ECF No. 692, page 233      Receive and send Property survey plat documents                     $       70.00
    ECF No. 692, page 258      Mark up Property contract                                           $      120.00
    ECF No. 692, page 260      Contract matters on the Property                                    $       80.00
                                 Dykema Attorneys' Fees Total                                      $    2,537.00
                               10% Discount Under Fee Application [ECF No. 692]                    $      253.70
                                                                A. Dykema Attorneys' Fees Paid     $    2,283.30
B. Wick Phillips Attorneys' Fees
    ECF No. 1070, page 34      Call with Texas Farm Bureau to extend policy on Property            $       88.50
    ECF No. 1070, page 79      Call re sale of Property                                            $       49.50
    ECF No. 1070, page 79      Correspondence with broker re Property                              $       49.50
    ECF No. 1070, page 80      Correspondence re insurance and utility expenses on Property        $       33.00
    ECF No. 1070, page 81      Correspondence re potential revisions to title for Property         $       99.00
    ECF No. 1070, page 81      Correspondence re title to Property                                 $       99.00
    ECF No. 1070, page 93      Correspondence re ad valorem taxes on Property                      $       49.50
    ECF No. 1070, page 93      Discussion re dispute appraisal of Property                         $       44.25
  ECF No. 1070, pages 93-94    Coordinate with Bexar County to find appraisal of Property          $      262.50
    ECF No. 1070, page 94      Correspondence re tax appraisal of Property                         $      346.50
    ECF No. 1070, page 94      Prepare document to remove suppression status of Property           $       50.00
   ECF No. 1070, page 128      Call re sale efforts on Property                                    $      115.50
   ECF No. 1070, page 165      Call re insurance on Property                                       $       49.50
   ECF No. 1070, page 167      Correspondence re insurance on Property                             $       24.75
   ECF No. 1070, page 200      Call with Texas Farm Bureau to extend policy on Property            $      103.25
   August Invoice, page 47     Correspondence re Property sales process                            $      396.00
   August Invoice, page 47     Call with broker re sales process                                   $       74.25
   August Invoice, page 47     Call with broker re sales process                                   $       49.50
   October Invoice, page 56    Correspondence with Wells Fargo re Property sale process            $       99.00
   October Invoice, page 57    Correspondence with Wells Fargo re Property sale process            $       99.00
   October Invoice, page 57    Correspondence with Auctioneer re personal items at Property        $      148.50
   October Invoice, page 58    Call with Wells Fargo re Property                                   $      148.50
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                             Correspondences to counsel for Wells Fargo and Trustee
 November Invoice, page 42
                             regarding Argyle                                                       $    198.00
                             Call with Texas Farm Bureau Insurance Co. re notice received
 November Invoice, page 66
                             regarding coverage for 555 Argyle.                                     $    118.00
 December Invoice, page 36   Portion of Trustee's professionals call re repairs are 555 Argyle.     $     29.50
                             Multiple calls and correspondence with Texas Farm Bureau
 December Invoice, page 60
                             Insurance re coverage at 555 Argyle.                                   $    560.50
                             Analysis of Argyle utility and freeze protection expenses for
  January Invoice, page 53
                             approval; analysis of Argyle insurance costs for approval.             $    163.50
  January Invoice, page 53   Analysis of additional expenses related to Argyle                      $    218.00
                             Portion of Trustee's professionals meeting re showings at Argyle
  January Invoice, page 53
                             property.                                                              $    103.50

  January Invoice, page 53   Portion of Trustee team call concerning Argyle property;
                             correspondence regarding Argyle offer; call with F.Hutt re same.       $    163.50
                             Multiple calls with Texas Farm Bureau Insurance re outstanding
  January Invoice, page 81
                             balance and payment for 555 Argyle.                                    $    138.00
                             Multiple calls with Texas Farm Bureau Insurance re coverage and
  January Invoice, page 81
                             payments at 555 Argyle.                                                $    207.00
                             Review invoices and compile all attorneys' fees attributable to 555
 February Invoice, page 26
                             Argyle.                                                                $    276.00
 February Invoice, page 43   Calls with Trustee and real estate agent regarding Argyle.             $    218.00
                             Portion of call with Trustee and Team regarding Argyle
 February Invoice, page 43
                             disposition.                                                           $     54.50

                             Analysis of expenses related to Argyle sale; correspondence with
                             M.Davis re same; calls with J.Rudd and Trustee re same;
 February Invoice, page 43
                             correspondence with J.Rudd and Trustee re settlement with Wells
                             Fargo related to secured claim on Argyle; correspondence with
                             Wells Fargo counsel re sale efforts and status.                        $   1,035.50
                             Calls and correspondence with F.Hutt and others regarding sale
 February Invoice, page 43
                             process.                                                               $    109.00
                             Calls and correspondence with F.Hutt regarding Argyle sale
 February Invoice, page 43   process; work with W.Holtz regarding potential contract, title
                             issues, and related matters.                                           $    272.50
                             Calls and correspondence with F.Hutt regarding Argyle offers;
 February Invoice, page 43
                             call with Trustee re same.                                             $    327.00
                             Phone call with Fred Hutt discussing Argyle offers; review and
 February Invoice, page 43
                             revise contract and addendum.                                          $   1,188.00

                             Initial analysis regarding and preparation of Argyle sale motion;
 February Invoice, page 43   review and revise Argyle offer stalking horse addendum; calls and
                             correspondence with F.Hutt re same; calls and correspondence
                             with Trustee re same; correspondence with W.Holtz re same.             $   1,308.00
                             Review revised Contract and Addendum for 555 Argyle; email
 February Invoice, page 44
                             correspondence regarding same.                                         $    148.50
 February Invoice, page 44   Revisions to Argyle sale draft motion.                                 $    654.00
                             Email correspondence with Fred Hutt following up on status of
 February Invoice, page 44
                             Argyle contract.                                                       $     99.00
                             Draft Sale and Bid Procedures Motion and proposed Order, Bid
 February Invoice, page 44   Procedures, Sale Notice, and Motion to Expedite and proposed
                             Order.                                                                 $   1,173.00
                             Portion of Trustee's professionals call re pending offer and sale of
 February Invoice, page 44
                             555 Argyle.                                                            $     69.00

 February Invoice, page 44   Make revisions to Sale and Bid Procedures Motion and proposed
                             Order, Bid Procedures, Sale Notice, and Motion to Expedite.            $    828.00
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                               Review Wick Phillips' invoices, Eric Terry Law's invoices, estate
  February Invoice, page 44    checks, and F.Hutt's invoices to calculate cost of preserving and
                               disposing of 555 Argyle.                                            $    1,276.50
                               Email correspondence and phone call with title company
  February Invoice, page 44
                               regarding status of title commitment for Argyle.                    $     198.00
                               Conference with S.Lawrence, L.Lutrell and E.Terry re strategy
  February Invoice, page 44
                               and negotiations with WF re Argyle sale and surcharge.              $     517.50
                               Call with litigation counsel regarding potential deal with Argyle
                               lienholders; correspondences with lienholder's counsel regarding
                               potential short sale; correspondence with Trustee regarding same;
  February Invoice, page 44
                               correspondence regarding insurance expense for Argyle; call and
                               correspondence with M.Davis and F.Hutt regarding Argyle sale
                               process timing.                                                     $     817.50
  February Invoice, page 44    Email correspondence with title company.                            $      49.50
                               Multiple correspondences and call with D.Stecker regarding
  February invoice, page 56    property tax matters; correspondence with F.Hutt regarding
                               Argyle taxes.                                                       $      272.50
                                                          B. Wick Phillips Attorneys' Fees Total   $   15,270.00
C. Estate Expenses
  ECF No. 566, ex. 1, page 7;
         Check #1011             Texas Farm Bureau Insurance Company                               $     866.91
          Check #1124            Texas Farm Bureau Insurance Companies                             $     866.75
2023.09 Bank Statement - Pettit,
      page 3; Check #1113        Texas Farm Bureau Insurance Companies                             $      866.75
          Check #1086            Texas Farm Bureau Insurance Companies                             $      866.83
          Check #1011            Texas Farm Bureau Insurance Companies                             $      866.91
          Check #1002            Texas Farm Bureau Insurance Companies                             $      866.91
          Check #1008            Texas Farm Bureau Insurance Companies                             $      866.91
          Check #1027            Texas Farm Bureau Insurance Companies                             $      866.91
          Check #1046            Texas Farm Bureau Insurance Companies                             $      866.91
          Check #1053            Texas Farm Bureau Insurance Companies                             $      866.91
          Check #1072            Texas Farm Bureau Insurance Companies                             $      866.91
          Check #1080            Texas Farm Bureau Insurance Companies                             $      866.91
          Check #1086            Texas Farm Bureau Insurance Companies                             $      866.83
          Check #1101            Texas Farm Bureau Insurance Companies                             $      866.75
          Check #1113            Texas Farm Bureau Insurance Companies                             $      866.75
          Check #1124            Texas Farm Bureau Insurance Companies                             $      866.75
          Check #1139            Texas Farm Bureau Insurance Companies                             $      866.75
          Check #1161            Texas Farm Bureau Insurance Companies                             $      876.75
   Invoice dated 01/31/2024      Texas Farm Bureau Insurance Company                               $      876.75
   Invoice dated 02/22/2024      Texas Farm Bureau Insurance Company                               $      876.75
        March Invoice?           Texas Farm Bureau Insurance Company                               $      876.75 estimate
          Check #1109            Alta Associates, LLC                                              $    6,750.00
   Invoice dated 12/18/2023      Alta Associates, LLC                                              $    4,975.00
   ECF No. 82, ex. 1, page 8     City of Alamo Heights                                             $      259.14
  ECF No. 566, ex. 1, page 8;
         Check #1008             Corie Properties, LLC                                             $      215.34
          Check #1058            Corie Properties, LLC                                             $    4,649.30
    Invoice dated 03/24/2023     CPS Energy                                                        $      224.55
   Invoice dated 04/25/2023      CPS Energy                                                        $      224.40
   Invoice dated 05/24/2023      CPS Energy                                                        $      276.19
   Invoice dated 06/26/2023      CPS Energy                                                        $      495.83
   Invoice dated 07/26/2023      CPS Energy                                                        $      819.01
   Invoice dated 08/24/2023      CPS Energy                                                        $      815.31
   Invoice dated 09/26/2023      CPS Energy                                                        $      861.28
   Invoice dated 10/25/2023      CPS Energy                                                        $      461.69
   Invoice dated 11/28/2023      CPS Energy                                                        $      163.09
   Invoice dated 12/27/2023      CPS Energy                                                        $      109.62
        January Invoice?         CPS Energy                                                        $      150.00 estimate
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       February Invoice?      CPS Energy                                                            $      150.00   estimate
        March Invoice?        CPS Energy                                                            $      150.00   estimate
   Invoice dated 03/10/2023   Alamo Heights Water                                                   $       90.25
   Invoice dated 04/11/2023   Alamo Heights Water                                                   $       54.24
   Invoice dated 05/19/2023   Alamo Heights Water                                                   $       54.35
   Invoice dated 06/19/2023   Alamo Heights Water                                                   $       54.62
   Invoice dated 07/19/2023   Alamo Heights Water                                                   $       54.35
   Invoice dated 08/15/2023   Alamo Heights Water                                                   $       58.40
   Invoice dated 09/22/2023   Alamo Heights Water                                                   $       54.50
   Invoice dated 10/23/2023   Alamo Heights Water                                                   $       54.48
   Invoice dated 11/21/2023   Alamo Heights Water                                                   $       54.35
   Invoice dated 12/21/2023   Alamo Heights Water                                                   $       84.85
   Invoice dated 01/10/2024   Alamo Heights Water                                                   $       85.59
       February Invoice?      Alamo Heights Water                                                   $       85.00   estimate
        March Invoice?        Alamo Heights Water                                                   $       85.00   estimate
   Invoice dated 01/12/2024   Sunset & Co. Freeze Prevention                                        $      779.27
   Invoice dated 10/24/2023   Home Elevator of Texas                                                $      649.50
    Invoice dated 11/1/2023   Home Elevator of Texas                                                $      734.04
                              Yard Work                                                             $      700.00   estimate
   Invoice dated 11/1/2023    Ty's Lock and Safe                                                    $      487.13
                                                                     C. Estate Expenses Total       $   44,213.02
D. Mr. Terry's Trustee Fee
                                3% of purchase price of $2,300,000.00                               $   69,000.00
                                                             D. Mr. Terry's Trustee Fee Total       $   69,000.00
E. U.S. Trustee's Fee
                                0.8% of purchase price of $2,300,000.00                             $   18,400.00
                                                                   E. U.S. Trustee's Fee Total      $   18,400.00

                                                   Total if Propery Sells (A + B + C + D + E)       $ 149,166.32

F. Eric Terry Law PLLC's Fees
                               Work on issues related to sale of argyle including demand for
   Invoice No. 2191, page 4
                              appraisal by WF.                                                      $     405.00
   Invoice No. 2191, page 4    Work on issues related to sale of argyle.                            $     450.00
                               Work on issues related to sale of argyle including issues related
   Invoice No. 2191, page 5
                              to possible new offer with cash and real property                     $     450.00
                               Work on issues related to sale of argyle property including
   Invoice No. 2191, page 5
                              maintenance issues and issues related to possible new offer.          $     810.00
                               Work on issues related to sale of argyle including new interested
   Invoice No. 2191, page 6
                              party and issues related to landscaping.                              $     585.00
   Invoice No. 2191, page 7    Work on issues related to sale of argyle.                            $     225.00
                               Work on issues related to sale of argyle including expenses
   Invoice No. 2262, page 1
                              for insurance                                                         $     180.00
   Invoice No. 2262, page 2    Work on issues related to argyle     insurance                       $     135.00
   Invoice No. 2262, page 4    Work on issues related to insurance on argyle                        $     135.00
   Invoice No. 2262, page 5    Work on issues related to sale of argyle.                            $     225.00
                               Work on issues related to sale of argyle including maintenace
   Invoice No. 2311, page 4
                              expenses.                                                             $     585.00
   Invoice No. 2311, page 5    Work on issues related to sale of argle.                             $     495.00
                               Work on issues related to sale of argyle including price reduction
   Invoice No. 2311, page 5
                              and maintenance expenses.                                             $     810.00
                               Work on issues related to sale of argyle including analysis of new
   Invoice No. 2395, page 2
                              offer.                                                                $     495.00
   Invoice No. 2395, page 4    Work on disbursements including for argyle                           $     135.00
   Invoice No. 2395, page 5   Work on issue related to sale of argyle.                              $     405.00
                               Work on issues related to sale of argyle and lowering listing
   Invoice No. 2395, page 5
                              price.                                                                $     337.50
                               Work on issues related to sale of argyle including analysis of
   Invoice No. 2419, page 1
                              showings and maintenance issues.                                      $     360.00
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 Invoice No. 2419, page 4    Work on issues related to sale of argyle.                            $     360.00
 Invoice No. 2419, page 4    Work on issues related to sale of argyle.                            $     405.00
                             Work on issues related to sale of argyle in response to WF's
 Invoice No. 2470, page 2
                            inquiry                                                               $     450.00
                             Work on issues related to sale of argyle including new showing
 Invoice No. 2470, page 2
                            with interested buyer.                                                $     360.00
 Invoice No. 2470, page 4   Work on issues related to maintenance of argyle and sale issues.
                                                                                                  $     585.00
 Invoice No. 2470, page 4    Work on issues related to sale of argyle.                            $     225.00
                             Work on issues related to sale of argyle including maintenance
 Invoice No. 2470, page 5
                            issues.                                                               $     270.00
                             Work on issues related to sale of argyle including property tax
 Invoice No. 2470, page 5
                            issues.                                                               $     585.00
                             Work on issues related to argyle incuding issues related to
 Invoice No. 2514, page 2
                            extension of listing agreement.                                       $     225.00
                             Work on issues related to sale of argyle including insurance
 Invoice No. 2514, page 3
                            issues.                                                               $     270.00
 Invoice No. 2514, page 4    Work on issues related to sale of argyle including listing price.    $     360.00
                             Work on issues related to sale and maintenance of argyle
 Invoice No. 2514, page 5
                            including insurance payment.                                          $     450.00
 Invoice No. 2592, page 1    Work on disbursement for argyle insurance                            $     360.00
                             Work on issues related to sale of argyle including issues related
 Invoice No. 2592, page 3
                            to maintenance costs.                                                 $     360.00
 Invoice No. 2592, page 4    Work on disbursements for      argyle.                               $     225.00
 Invoice No. 2592, page 4    Work on issues related to sale and maintenance of argyle.            $     450.00
                             Work on issues related to argyle including issues related to texas
 Invoice No. 2592, page 5
                            farm erroneous reconcilliation of payments for insurance.             $     675.00
                             Work on issues related to argyle including TX farm bureau
 Invoice No. 2592, page 5
                            improper demand letter.                                               $     720.00
                             Work on issues related to maintenance and marketing of argyle
 Invoice No. 2667, page 3
                            property.                                                             $     990.00
                             Work on maintenance issues and marketing issues for argyle
 Invoice No. 2667, page 3
                            property.                                                             $     855.00
 Invoice No. 2667, page 3    Work on expenses for argyle.                                         $     450.00
                             Work on reimbursements for argyle maintenance and issues
 Invoice No. 2667, page 3
                            related to marketing and possible offer.                              $      855.00
 Invoice No. 2667, page 4    Work on issues related to offer on argyle.                           $      495.00
 Invoice No. 2667, page 5    Work on issues related to insurance for argyle.                      $      315.00
                                                       F. Eric Terry Law PLLC's Fee Total         $   18,517.50

                                            Total if Property Does Not Sell (A + B + C + F) $         80,283.82
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                         Exhibit C
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   From:              Mitchell Buchman
   To:                Scott Lawrence
   Cc:                Bo Banks; Jason Rudd
   Subject:           RE: [External] RE: Chris Pettit; Case #22-50591; 555 Argyle Ave, San Antonio, Texas
   Date:              Monday, October 9, 2023 12:46:00 PM
   Attachments:       image003.png


   Thank you for the update

   Mitchell J. Buchman
   Senior Attorney
   Barrett Daffin Frappier Turner & Engel, LLP
   1900 St. James Place, Suite 500
   Houston, Texas 77056
   (713) 693-2014
   (713) 693-2011 (FAX)
   mitchelb@bdfgroup.com
   PLEASE BE ADVISED THAT THIS FIRM IS A DEBT COLLECTOR ATTEMPTING TO COLLECT A DEBT. ANY
   INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

   IF YOU NO LONGER WISH TO RECEIVE CORRESPONDENCE AT THIS EMAIL ADDRESS PLEASE NOTIFY
   THE SENDER OF THIS EMAIL AND OUR OFFICE AT HAD@BDFGROUP.COM




   From: Scott Lawrence <scott.lawrence@wickphillips.com>
   Sent: Monday, October 9, 2023 12:40 PM
   To: Mitchell Buchman <MitchelB@bdfgroup.com>
   Cc: Bo Banks <BoB@bdfgroup.com>; Jason Rudd <jason.rudd@wickphillips.com>
   Subject: RE: [External] RE: Chris Pettit; Case #22-50591; 555 Argyle Ave, San Antonio, Texas

   Hi Mitchell:

   Our agent has shown the house multiple times since our last update, including a showing last
   Tuesday, another two days ago, and another scheduled for today. We have not had any offers since
   our last update.

   On September 6, we reduced the list price from $3.4 million to $3.2 million (it looks like we were still
   at $3.6 million at our last update below). We will continue to work the market to find a buyer and
   maximize the estate’s returns on the property. We have performed and paid for all maintenance and
   upkeep costs up to this point, including some air conditioning repairs and landscaping as needed.

   Best,


   Scott Lawrence
   Partner | Wick Phillips
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                                      of 29

   Direct: 214.420.4449
   Mobile: 405.205.6340
   scott.lawrence@wickphillips.com

   From: Mitchell Buchman <MitchelB@bdfgroup.com>
   Sent: Friday, October 6, 2023 1:21 PM
   To: Scott Lawrence <scott.lawrence@wickphillips.com>
   Cc: Bo Banks <BoB@bdfgroup.com>; Jason Rudd <jason.rudd@wickphillips.com>
   Subject: RE: [External] RE: Chris Pettit; Case #22-50591; 555 Argyle Ave, San Antonio, Texas


   Thank you.

   Mitchell J. Buchman
   Senior Attorney
   Barrett Daffin Frappier Turner & Engel, LLP
   1900 St. James Place, Suite 500
   Houston, Texas 77056
   (713) 693-2014
   (713) 693-2011 (FAX)
   mitchelb@bdfgroup.com
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   THE SENDER OF THIS EMAIL AND OUR OFFICE AT HAD@BDFGROUP.COM




   From: Scott Lawrence <scott.lawrence@wickphillips.com>
   Sent: Friday, October 6, 2023 1:16 PM
   To: Mitchell Buchman <MitchelB@bdfgroup.com>
   Cc: Bo Banks <BoB@bdfgroup.com>; Jason Rudd <jason.rudd@wickphillips.com>
   Subject: RE: [External] RE: Chris Pettit; Case #22-50591; 555 Argyle Ave, San Antonio, Texas

   Hi Mitchell: I have asked the agent for an update on the process, I will relay to you when I have it.


   Scott Lawrence
   Partner | Wick Phillips
   Direct: 214.420.4449
   Mobile: 405.205.6340
   scott.lawrence@wickphillips.com

   From: Mitchell Buchman <MitchelB@bdfgroup.com>
   Sent: Thursday, October 5, 2023 12:44 PM
   To: Scott Lawrence <scott.lawrence@wickphillips.com>
   Cc: Bo Banks <BoB@bdfgroup.com>; Jason Rudd <jason.rudd@wickphillips.com>
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   Subject: RE: [External] RE: Chris Pettit; Case #22-50591; 555 Argyle Ave, San Antonio, Texas

   Scott:

   Has the trustee made any progress selling my client’s collateral?

   Mitchell J. Buchman
   Senior Attorney
   Barrett Daffin Frappier Turner & Engel, LLP
   1900 St. James Place, Suite 500
   Houston, Texas 77056
   (713) 693-2014
   (713) 693-2011 (FAX)
   mitchelb@bdfgroup.com
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   THE SENDER OF THIS EMAIL AND OUR OFFICE AT HAD@BDFGROUP.COM




   From: Mitchell Buchman
   Sent: Friday, September 22, 2023 9:25 AM
   To: 'Scott Lawrence' <scott.lawrence@wickphillips.com>
   Cc: Bo Banks <BoB@bdfgroup.com>; Jason Rudd <jason.rudd@wickphillips.com>
   Subject: RE: [External] RE: Chris Pettit; Case #22-50591; 555 Argyle Ave, San Antonio, Texas

   Scott:

   Can you provide any updates on the trustee’s efforts to sell the property at 555 Argyle Ave, San
   Antonio, Texas. Has the trustee recent any realistic offers for the purchase of the property?

   Mitchell J. Buchman
   Senior Attorney
   Barrett Daffin Frappier Turner & Engel, LLP
   1900 St. James Place, Suite 500
   Houston, Texas 77056
   (713) 693-2014
   (713) 693-2011 (FAX)
   mitchelb@bdfgroup.com
   PLEASE BE ADVISED THAT THIS FIRM IS A DEBT COLLECTOR ATTEMPTING TO COLLECT A DEBT. ANY
   INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

   IF YOU NO LONGER WISH TO RECEIVE CORRESPONDENCE AT THIS EMAIL ADDRESS PLEASE NOTIFY
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   THE SENDER OF THIS EMAIL AND OUR OFFICE AT HAD@BDFGROUP.COM




   From: Scott Lawrence <scott.lawrence@wickphillips.com>
   Sent: Wednesday, August 2, 2023 5:53 AM
   To: Mitchell Buchman <MitchelB@bdfgroup.com>
   Cc: Bo Banks <BoB@bdfgroup.com>; Jason Rudd <jason.rudd@wickphillips.com>
   Subject: RE: [External] RE: Chris Pettit; Case #22-50591; 555 Argyle Ave, San Antonio, Texas

   Mitchell:

   The current list price for 555 Argyle is $3,600,000. We have occasional showings; 5 in last 30 days.
   We have a couple offers from weeks ago that were $2,000,000 and 2,200,000, but the Trustee
   considered those to be too low and did not pursue them. We had an Alamo Heights Historical Open
   House on Saturday July 22 which 37 people attended. We are likely going to reduce the list price in
   the next few days.

   Best,


   Scott Lawrence
   Partner | Wick Phillips
   Direct: 214.420.4449
   Mobile: 405.205.6340
   scott.lawrence@wickphillips.com

   From: Scott Lawrence <scott.lawrence@wickphillips.com>
   Sent: Wednesday, July 26, 2023 11:36 AM
   To: Umari, Basil <BUmari@dykema.com>; Mitchell Buchman <MitchelB@bdfgroup.com>
   Cc: Bo Banks <BoB@bdfgroup.com>; Jason Rudd <jason.rudd@wickphillips.com>
   Subject: RE: [External] RE: Chris Pettit; Case #22-50591; 555 Argyle Ave, San Antonio, Texas

   Thanks, Basil.

   Mitchell, we have had some showings and conducted an open house last weekend. I will reach out
   to the broker for a more detailed report.



                                                 Scott Lawrence | Partner
                                                 3131 McKinney Avenue, Suite 500
                                                 Dallas, TX 75204
                                                 Direct: 214.420.4449 | Mobile:405.205.6340
                                                 Fax:    214.692.6255
                                                 www.wickphillips.com



   W PGM!
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   From: Umari, Basil <BUmari@dykema.com>
   Sent: Wednesday, July 26, 2023 11:35 AM
   To: Mitchell Buchman <MitchelB@bdfgroup.com>
   Cc: Bo Banks <BoB@bdfgroup.com>; Jason Rudd <jason.rudd@wickphillips.com>; Scott Lawrence
   <scott.lawrence@wickphillips.com>
   Subject: [External] RE: Chris Pettit; Case #22-50591; 555 Argyle Ave, San Antonio, Texas

   Mitchell,

   Dykema no longer represents the Trustee. Jason Rudd and Scott Lawrence, cc’d, do now.

   Basil


   Basil A. Umari
   Senior Counsel

   D 713-904-6883 M 713-392-1974
   BUmari@dykema.com dykema.com

   BIO VCARD

   5 Houston Center
   1401 McKinney Street, Suite 1625
   Houston, Texas 77010




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   and (2) contact me immediately.

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   intended to constitute an electronic signature unless a specific statement to the contrary is included in this
   message.


   From: Mitchell Buchman <MitchelB@bdfgroup.com>
   Sent: Wednesday, July 26, 2023 10:17 AM
   To: Umari, Basil <BUmari@dykema.com>
   Cc: Bo Banks <BoB@bdfgroup.com>
   Subject: Chris Pettit; Case #22-50591; 555 Argyle Ave, San Antonio, Texas


   *** EXTERNAL***

   Basil:

   I hope you and your family are doing well.
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   As you know I represent Wells Fargo Bank West in connection with the lien on the property located
   at 555 Argyle Avenue. Can you please provide me with an update on the progress of the trustee’s
   efforts to sell my client’s collateral. Has the trustee received any offers in the last six months. If he
   has, what amounts have been offered for the property. I would also like to know what the current
   list price is for the property.

   Thank you in advance for your assistance.




   Mitchell J. Buchman
   Senior Attorney
   Barrett Daffin Frappier Turner & Engel, LLP
   1900 St. James Place, Suite 500
   Houston, Texas 77056
   (713) 693-2014
   (713) 693-2011 (FAX)
   mitchelb@bdfgroup.com
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   THE SENDER OF THIS EMAIL AND OUR OFFICE AT HAD@BDFGROUP.COM




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